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                         IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DISTRICT

      MICHAEL GONIDAKIS, ET AL.                  :   CASE NO. 2:22-CV-773
                                                 :
            PLAINTIFFS                           :   CHIEF JUDGE ALGENON L.
                                                 :   MARBLEY
      VS.                                        :
                                                 :   CIRCUIT JUDGE AMUL R.
      FRANK LAROSE,                              :   THAPAR
                                                 :
            DEFENDANTS.                          :   JUDGE BENJAMIN J. BEATON

            CONSOLIDATED REPLY OF SIMON PARTIES TO PLAINTIFFS’
         OPPOSITION TO THE SIMON PARTIES MOTION TO STAY PENDING
        APPEAL (ECF DOCKET #211), SECRETARY LAROSE, AUDITOR FABER
         AND GOVERNOR DEWINE’S RESPONSE IN OPPOSITION TO SIMON
       PARTIES’ MOTION TO STAY PENDING APPEAL (ECF DOCKETS #207 AND
           #212) AND INTERVENOR-DEFENDANTS HUFFMAN AND CUPP’S
       MEMORANDUM IN OPPOSITION TO SIMON INTERVENOR-PLAINTIFFS’
              MOTION TO STAY PENDING APPEAL (ECF DOCKET #213)

      I.      INTRODUCTION

              The Honorable Reverend Kenneth L. Simon, the Honorable Reverend Lewis W.

      Macklin, II and Helen Youngblood (hereinafter “the Simon Parties”) hereby Reply to the

      Opposition of Plaintiffs (ECF #211), Secretary LaRose, Auditor Faber, Governor DeWine

      (ECF #212), and Defendants Huffman and Cupp (ECF #213), to the Simon Parties’ Motion

      to Stay Pending Appeal to the United States Supreme Court (ECF #206).

              Defendants LaRose, Faber and DeWine have alleged that the Simon Parties Notice

      of Appeal (ECF #206) was filed prematurely. All filers of opposition to the Simon Parties’

      motion to stay pending appeal have alleged that a stay is inappropriate for the reason the

      Simon Parties are unlikely to succeed on the merits of their appeal due to the failure to

      produce evidence that Simon can satisfy the Gingles preconditions. Defendants Huffman

      and Cupp, deny that its Redistricting Commission Rule 9 that proscribes consideration of

      racial data.
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             All of the opposition arguments concerning the Gingles preconditions are circular

      therefore fallacious and due for rejection.       Support for this assertion is below. The

      timeliness and Rule 9 arguments are also addressed below.

      II.    ARGUMENT

             A. TIMELINESS

             The Simon Parties do not dispute the argument that the Court’s May 12, 2022 Order

      (ECF #201), is not final until the Motion to Alter or Amend (ECF #202), is resolved. The

      pendency of the Motion to Alter or Amend renders the Notice of Appeal premature. The

      Simon Parties will defer further action to perfect an appeal to the United States Supreme

      Court until the Motion to Alter of Amend is resolved. However, the Simon parties’ request

      for a stay is still being asserted whether pending resolution of the motion to alter a or amend

      or appeal to the United States Supreme Court. The request is for a stay of certification of

      the August 2, 2022 election not the election itself. The public interest is served if a remedy

      is preserved to correct the outcome of an election conducted under unlawfully configured

      legislative districts such as those currently approved for the August election.

             B. RULE 9

             Defendants Huffman and Cupp allege that Rule 9 of the Ohio Redistricting

      Commission (ORC) does not deal with race. Attached at Exhibit A hereto are transcript

      excerpts from the March 23, 2022 meeting of the ORC, where Defendants Cupp and

      Huffman both make reference to “Point 9” as the ORC policy against consideration of

      racial demographics. Whether its called “Point 9” or “Rule 9” the gravamen of the Simon

      Parties’ request for relief is that the preemptive blanket prohibition against presentation

      and consideration of racial demographics in connection with the redistricting process is

      violative of §2 of the Voting Rights Act.

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             C. GINGLES PRECONDITIONS

             Each opposition memorandum states that the Simon Parties can not meet the

      Gingles preconditions, but no opposition memo cites any caselaw or other authority that

      has held the Gingles preconditions apply to a “nomination” claim in a jurisdiction without

      a majority vote or a runoff requirement. The reason they can not cite such a case is because

      there is none. The VRA makes a clear textual reference to the unlawfulness under the VRA

      of electoral mechanisms that impair the processes leading to nomination or election.. All

      of the Opposition authority arises from cases where election was the issue. Here the Simon

      parties have asserted a nomination claim.

             Most importantly however each opposition memorandum states that in order to

      establish a right to relief under the VRA, a claimant must prove that certain minimum race-

      based numerical thresholds are met, like a majority in a single member district. The fallacy

      in the opposition argument is how do you demonstrate whether the complaining Black

      voters constitute a majority in a single member district without considering race? The ORC

      has a rule prohibiting any consideration whatsoever of racial demographics. The covert

      aim of Rule 9 of the ORC, whether you call it Point 9 or Rule 9, is just as inimical to the

      policies underlying the VRA as the overt means utilized fifty years ago that led to

      enactment of the VRA. This Court should not accept the Opposition’s circular reasoning.

      III.   CONCLUSION

             For the above reasons each Memorandum in Opposition should be rejected and a

      Stay should be granted that will delay certification of the August 2, 2022 election results

      until the novel issue of whether the Gingles preconditions apply to a nomination claim is

      decided conclusively.




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                                                   /s/ Percy Squire_________________
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                                  CERTIFICATE OF SERVICE

             The undersigned hereby certifies that a copy of the foregoing was served by

      operation of the United States District Court, Southern District of Ohio electronic filing

      system, on July 12, 2022.


                                                   s/Percy Squire, Esq.
                                                   Percy Squire (0022010)
                                                   Attorney for Simon Party-Plaintiffs




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                                                                           EXHIBIT
                                                                                A
      1. The map drawers shall include the two independent map drawers hired by the
      Redistricting Commission and the seven staff/contractor map drawers.
      2. The independent map drawers shall draft any General Assembly district plan at
      the direction of the Redistricting Commission.
      3. The independent map drawers shall answer to each of the Redistricting
      Commission members. However, any conflicting direction from the Redistricting
      Commission members shall be resolved via the mediation process described below.
      (See Rules 12-16)
      4. The independent map drawers shall produce an entirely new general assembly
      district plan that has not been previously submitted to the Redistricting
      Commission. The independent map drawers shall not include or consider any
      general assembly plan proposals or work product produced prior to Wednesday,
      March 23, 2022 when drafting the entirely new general assembly district plan.
      5. The map drawers shall utilize statewide election results and geography from
      2016, 2018, and 2020 for the purpose of measuring the partisan lean of individual
      districts.
      6. When considering the election results, Republican votes cast plus Democratic
      vote casts shall equal 100% of the total vote.
      7. The map drawers shall utilize Maptitude when drawing any general assembly
      district plan.
      8. The map drawers shall utilize one computer purchased by the Redistricting
      Commission to draft any general assembly district plan.
      9. Racial data will neither be loaded onto the computer nor shall it be utilized by
      the map drawers in any way.
      10. The map drawers shall draw a general assembly district plan that conforms
      with the Ohio Constitution including Article 11, Sections 1, 2, 3, 4, 5, 6, and 7, the
      Constitution of the United States and applicable federal laws.
      11. The map drawers shall draw a general assembly district plan that conforms
      with the opinions of the Ohio Supreme Court and the United States Supreme
      Court.
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       Speaker Cupp [01:17:41] Maybe we'll have to see how the screen stuff works as we get
       into the process. I mean, I'm advised, however, that when you do prepratory, we'll have to
       see how the public records law applies to your preparatory work and whether or not we're
       going to end up with three maps anyway. So which is a concerning development so but
       let's let's do number eight, we have to kind of move along. So as I understand 8 would now
       read the map drawers shall utilize one computer purchased by the registering commission
       to draft any General Assembly district plan. Two additional computers for preparation. Two
       additional... Urn.

       President Huffman [01:18:33] Computers may be used for preparation purposes, .

       Speaker Cupp [01:18:40] For preparation purposes, independent map makers.

       President Huffman [01:18:43] on site, on site. Right.

       Co Chair Sykes [01:18:45] And independent, the independent. The word independent,

       Speaker Cupp [01:18:51] I would I don't have any objections, either, although I think we
       already said the map makers are independents, but we'll add that. OK. All right, is there
       any objection to eight as amended on Proposal A? There is no objection. Eight as
       amended, on proposal A will be accepted.

      President Huffman [01:19:25] Mr. Chairman, propose and move that point number nine
      be adopted by the commission. This is racial data will neither be loaded onto the compute►'
      nor shall it be utilized by the map drawers in any way. Commissioners may recall, but
      perhaps not Leader Russo she wasn't on the commission in September that this was a
      point of discussion by the commission when the two maps-- both see the map for the
      General Assembly on September and then actually also the congressional map that was
      eventually adopted by the General Assembly at the end of November did not use racial
      data. So none of the three maps so far the commission has adopted... Either for the
      General Assembly or the two for congressional, have used that. As I argued in September,
      these the use of the stat is illegal under federal law, unless there are a whole variety of
      requirements that require that, that be used. There in the various lawsuits that were filed
      with the Supreme Court and have sent this issue back to them, all three of the opinions the
      court has no instructions or otherwise has not opined that this data should be used, nor
      have any of the parties who have brought the appeals to these brought this as an issue to
      the Supreme Court. So I don't think that we since we've argued this issue, it hasn't been
      used three times. None of the opponents who brought these lawsuits have asked for it, nor
      has the Supreme Court ordered or otherwise suggested that we use it. So I think we
      should adopt number nine, as is.

       Speaker Cupp [01:21:26] I'll second that.

      Co Chair Sykes [01:21:27] Mr. Chairman, even though is not a required requirement. It's
      not inappropriate. It's allowable, particularly as secondary information. And I don't see why
      we would not want to avail the map drawers to all of the information that could be helpful
      and useful in in map drawing for informational purposes and to be used only in accordance
      with the federal law. So our language here stipulates that that it would only utilized in
      accordance with the federal law. So we're not trying to violate the law. We just want to
      have access.
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      President Huffman [01:22:13] Mr Co Chair, I think it is a violation of federal law and it also
      is I think that if the level or the determining factor is inappropriateness, not only is it in
      violation of federal law and therefore inappropriate, it adds another layer of complexity and
      discussion. And again, we've we've determined this issue a number of times. The
      opponents of this have not brought this up as an issue. The court has not instructed or
      opined on it.

       Leader Russo [01:22:51] Mr. Chair,

       Speaker Cupp [01:22:53] Leader Russo.

       Leader Russo [01:22:54] Can I ask the Senate president Huffman, because I wasn't here
       in September, how is it a violation of federal law? I mean, in what way? Having the
       information accessible, my understanding is that it shouldn't be the primarily used or
       considered that is the violation of federal law. So I'm somewhat perplexed. And how you're
       saying having it accessible as additional information available is a violation of federal law.

       President Huffman [01:23:25] Well, I'm not. I'm not sure what you mean by accessible as
       additional information, either. It is used in the mapping process or it's not. It's not. If this is
       the information we're using, the census data, the precincts and all of that, and that's being
       used to draw the map than it is. But another set of data over here that's accessible, either
       it's being used or it's not. And we have not used that. And the reason we haven't used it is
       because federal law prohibits the drawing of maps and districts based on race, unless
       there has been some presentation of evidence and a court determines that it's appropriate
       in a particular case. So we're kind of around the edges about inappropriate, accessible. It's
       here. Those aren't the standards. Either the standards are that it's legally required or it's
       not legally required. We have a lot of requirements in our constitution. I daresay more than
       any other state in terms of how we draw maps. But not only is this not a requirement, it's
       illegal to do, and that's what we have determined several times in this commission. And
       again, none of the opponents have brought that up as an issue in the Supreme Court has
       ordered us to do that to sort of insert this complex issue at the last moment here. I think
       the standard is inappropriate would also be inappropriate.

       Co Chair Sykes [01:25:12] Co Chair, I'd like to ask the mapmakers, do they have your
       opinion on this?

       Doug Johnson [01:25:20] Well, ask a question, and I don't speak for Dr. McDonald so he
       can weigh in on it too, but I think to a degree, you're both right. The the door to using this
       data in redistricting is typically a racially polarized voting study. And I don't know. I don't
       believe that's been done, but I would like to ask and confirm whether or not that's been
       done, because without

       Speaker Cupp [01:25:45] no information like that has been submitted to the commission.

       Michael McDonald [01:25:54] I would say at this stage in the process, we would need a
       primary election data and none of that is available. So in the limited amount of time that we
       have to do our work, I would defer to President Huffman and no, I would rather not look at
       racial data.
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       Speaker Cupp [01:26:23] Is there an objection to number nine, although I would say now
       we have three computers instead of the computer, so I would guess that any onto any of
       the three computers.

       President Huffman [01:26:39] So I add the letter s on the end of computer

       Speaker Cupp [01:26:43] onto the computers, yes, I think that would solve that problem.
       Is there objection to number nine with with the addition that computer is now computers?
       Hearing no objection, number nine from Proposal A is adopted,

       President Huffman [01:27:08] Mr. Co-Chair, I move that number 10 be adopted with the
       proposed amendment, added the word independent before map in the first line of number
       10, as suggested by Senator Sykes.

       Speaker Cupp [01:27:30] All right, is there any objection to number 10 from Proposal A
       adding independent before the word maps in the independent maps drawer? Without
       objection number 10 from Proposal A as amended will be accepted

       President Huffman [01:27:51] as to number 11. Mr. Chairman, I think it's the first I move
       number 11. And again, I think the only assertion is Senator Sykes requested the word
       independent before the word map in the first line on number 11. And that's acceptable, and
       I would move with that change for the acceptance of number 11.

       Speaker Cupp [01:28:12] All right. Number 11 be amended to add the term independent
       before map drawers

       Doug Johnson [01:28:21] co chair, if I might. Just (yes), a clarifying question. The
       reference to the United States Supreme Court just like in general, I am not aware of any
       specific U.S. Supreme Court rulings in this proceeding. Correct?

       Speaker Cupp [01:28:33] that we're not aware of any either. But anything could happen in
       this (audience laughter) All right. Any objection to a number 11 as amended, in proposal
       A? Hearing none that will be accepted.

       President Huffman [01:28:49] Mr. Co-Chair, then I'd move number 12 and again, the
       same, the same insertion. That suggestion of Senator Sykes would put in the word
       independent before map. And the other suggestion is that we change the word amongst to
       between. And I am not --I guess I'm not a -- that's fine with me. I can't think of good words
       to say about that.

       Speaker Cupp [01:29:21] OK number 12 as amended independent before mapmakers --
       drawers. I guess drawers. And change amongst to between. Any objection to number 12
       from Proposal A as amended? Hearing none, it will be adopted, accepted.

       President Huffman [01:29:52] And then, Mr. Chairman, number 13, I would move that and
       again with the same insertion requested by Senator Sykes with the word independent
       before mapmakers -- or mapdrawers.

       Speaker Cupp [01:30:03] Mapdrawers. all right, any objection to number 13 from Proposal
       A? And right on this side proposal. As amended, hearing none number 13 is accepted.
